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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                     ENTERED
                                                                                November 29, 2016
                        UNITED STATES DISTRICT COURT
                                                                                David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

ABEL JAMES PENA,                            §
                                            §
        Plaintiff,                          §
VS.                                         § CIVIL ACTION NO. 2:16-CV-00501
                                            §
AMERICAN ZURICH INSURANCE                   §
COMPANY,                                    §
                                            §
        Defendant.                          §

                                 FINAL JUDGMENT

      Pursuant to Plaintiff’s Notice of Dismissal (D.E. 3), the Court enters final

judgment dismissing this action without prejudice.

      ORDERED this 29th day of November, 2016.


                                             ___________________________________
                                             NELVA GONZALES RAMOS
                                             UNITED STATES DISTRICT JUDGE




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